                      UNITED STATES DISTEICT COURT

                       MIDDLE DISTRICT OF LOUISIANA


 MCARTHUR GRIFFIN CIVIL ACTION

 VERSUS

 REG MARINE LOGISTICS LLC, ET NO. 20-00092-BAJ-EWD
 AL.


                                     JUDGMENT

       WHEREAS, this matter was tried before a jury on April 25-28, 2023, and May

1, 2023. (Docs. 186, 207, 208, 209, 214).

       WHEREAS, the jury rendered a verdict in favor of Plaintiff IVIcArthur Griffin

and against Defendants REG Marine Logistics, LLC and Offshore Transport Services,

LLC. (Doc. 212).

       WHEREAS, the jury found that Plaintiff McArthur Griffin has proven by a

preponderance of the evidence that Defendant REG Marine Logistics, LLC's negligent

conduct was a cause, in part, of the injuries to Plaintiffs shoulder and neck that were


sustained during a personnel basket transfer incident onboard the M./V Dustin


Danos.



       WHEREAS, the jury found that Plaintiff McArthur Griffin has proven by a

preponderance of the evidence that the unseaworthiness of Defendant Offshore


Transport Services, LLC s vessel, the M/V Dustin Danos, was a proximate cause of


Plaintiffs injuries or damages.


       WHEREAS, the jury found that Defendants, REG Marine Logistics, LLC and
Offshore Transport Services, LLC, have proven by a preponderance of the evidence


that Plaintiff McArthur Griffin was negligent in a way that caused, in part, his

injuries.



       WHEREAS, the jury found that the degree of fault as between Plaintiff

McArthur Griffin and Defendants EEC Marine Logistics, LLC and Offshore

Transport Services, LLC is allocated in the following percentages:


        McArthur Griffin: 10%
        REG Marine Logistics, LLC: 70%
        Offshore Transport Services, LLC: 20%

      WHEREAS, the jury found that Plaintiff McArthur Griffin suffered the

following damages:


        Past general damages: $100,000.00
        Future general damages: $250,000.00
        Past wage loss: $150,000.00
        Future loss of earning capacity: $500,000.00
        Past medical expenses: $10,000.00
        Future medical expenses: $686,700.00
        Maintenance: $10,000.000
        TOTAL: $1,706,700.00

      WHEREAS, the jury found that Plaintiff McArthur Griffin has proven by a

preponderance of the evidence that Defendant REG M.arine Logistics, LLC acted

unreasonably, willfully, wantonly, and arbitrarily in failing to provide maintenance


and cure to Plaintiff, such that punitive damages in the amount of $1,500,000.00 are

warranted.


      Accordingly,


       IT IS ORDERED, ADJUDGED, AND DECKED that judgment be and is

hereby ENTERED in favor of Plaintiff JVIcArthur Griffin and against Defendants
REC Marine Logistics, LLC and Offshore Transport Services, LLC.


      IT IS FURTHER ORDERED, ADJUDGED, AND DECKED that a

compensatory damages award in the amount of $1,194,690.00 be and is hereby


ENTERED in favor of Plaintiff McArthur Griffin and against Defendant EEC

Marine Logistics, LLC.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECKED that a

compensatory damages award in the amount of $341,340.00 be and is hereby


ENTERED in favor of Plaintiff McArthur Griffin and against Defendant Offshore

Transport Services, LLC.


      IT IS FURTHER ORDERED, AD JUDGED, AND DECKED that a punitive

damages award in the amount of $1,500,000.00 be and is hereby ENTERED in favor

of Plaintiff McArthur Griffin and against Defendant REC Marine Logistics, LLC.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECKED that Plaintiff

McArthur Griffin be and is hereby awarded court costs and judicial interest from the

date of judicial demand.



                               Baton Rouge, Louisiana, this I day ofJVlay, 2023




                                             ^a.
                                      JUDGE BRIAN A. J^QfeSON
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
